Case: 4:08-cv-01538-DDN Doc. #: 3 Filed: 11/20/08 Page: 1 of 1 PageID #: 8




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI
                               ST LOUIS DIVISION

JANET MILLER,                               )
                                            )
       Plaintiff,                           )
                                            )
       vs.                                  )      Civil Action No. 08-CV-1538
                                            )
VALENTINE & KEBARTAS, INC.                  )
                                            )
       Defendant.                           )

                                NOTICE OF FILING

VALENTINE & KEBARTAS, INC
Attn: Legal Department
15 Union Street
Lawrence, MA 01840

       PLEASE TAKE NOTICE THAT On November 20, 2008, there was filed in the
United States District Court for the Eastern District of Missouri, Plaintiff’s Voluntary
Motion to Dismiss, a copy of which is attached hereto and herewith served upon you.

Name:                 LARRY P. SMITH & ASSOCIATES, LTD.
Attorneys For:        Plaintiff
Address:              205 N. Michigan Ave, Suite 4000
City:                 Chicago, Illinois 60601
Telephone:            (312) 222-9028


                                PROOF OF SERVICE

       I, the undersigned, an attorney, certify that I served this notice by depositing a
copy of the same in the United States mail with sufficient postage affixed thereon to the
above named parties before 5:00 p.m. on November 20 , 2008 from 205 N. Michigan
Avenue, Suite 4000, Chicago, Illinois 60601.

                                                   By: ____/s Larry P. Smith ______
                                                           Attorney for Plaintiff
